         Case 1:18-cr-10450-MLW Document 933 Filed 03/07/22 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


  UNITED STATES
                                                            No. 18-cr-10450-MLW
         v.

  ERICK LOPEZ-FLORES


                                     NOTICE OF APPEAL

       Defendant, Erick Lopez-Flores, hereby appeals from the judgment of the District Court in

the above-captioned case (Dkt # 929, entered March 4, 2022) to the United States Court of

Appeals for the First Circuit.

                                              Respectfully submitted,

                                              ERICK LOPEZ-FLORES
                                              by his attorneys

                                              /s/ William W. Fick
                                              WILLIAM W. FICK, ESQ. (BBO # 650562)
                                              AMY BARSKY, ESQ. (BBO # 601111)
                                              FICK & MARX LLP
                                              24 Federal Street, 4th Floor
                                              Boston, MA 02210
                                              (857) 321-8360
                                              WFICK@FICKMARX.COM
                                              ABARSKY@FICKMARX.COM

                                      Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
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                                              /s/ William Fick




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